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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                           v.                                Criminal No. 25-cr-164 (JMC)

 EMILY GABRIELLA SOMMER,

                       Defendant.

                    JOINT MOTION TO CONTINUE PRETRIAL DEADLINES
        The United States of America, by and through its undersigned counsel, and Counsel for Emily

Gabriella Sommer, jointly move this Court for entry of an order extending the pretrial deadlines in this

case.

        On June 27, 2025, the Court entered a Pretrial Order specifying various pretrial deadlines. ECF

No. 18. The Pretrial Order set deadlines for various matters including pretrial motions due by July 9,

2025, exhibit lists due by July 14, 2025 and a joint pretrial statement due by July 21, 2025. A pretrial

conference was also set for July 25, 2025.

        The parties could jointly benefit from additional time to consider pretrial motions and confer on

disputed issues in this case ahead of trial. As such, the parties are jointly proposing the attached

Proposed Revised Pretrial Order. The Proposed Revised Pretrial Order seeks to extend the deadlines by

one week or less and seeks to reschedule the pretrial conference from July 25, 2025 to July 28, 2025.

        WHEREFORE, the parties jointly request an order revising the Pretrial Order deadlines for filing

pretrial motions.




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                             Respectfully submitted,

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                             NY Bar Number 1387455

                     By:     /s/ Jacob M. Green
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

                         v.                                  Criminal No. 25-cr-164 (JMC)

EMILY GABRIELLA SOMMER,

                      Defendant.

                         [PROPOSED] REVISED PRETRIAL ORDER
        In order to administer the trial of this case in a manner that is fair and just to the Parties

and is consistent with the goal of completing the trial in the most efficient manner, it is hereby

        ORDERED that a pretrial conference will be held on July 28, 2025, at 2:00 PM in

Courtroom 3. It is further

        ORDERED that the trial of this case will commence on August 18, 2025, at 9:30 AM in

Courtroom 3. It is further

        ORDERED that any motions are due by July 16, 2025. Oppositions are due by July 22,

2025, and any Replies are due July 25, 2025. It is further

        ORDERED that Defendant will make expert disclosures to the Government by July 21,

2025. It is further

        ORDERED that the Parties’ joint pretrial statement is due by July 25, 2025. In addition

to filing the joint pretrial statement on the public docket, the Parties will submit a version of the




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statement in Microsoft Word format to Cobb_Chambers@dcd.uscourts.gov. The joint pretrial

statement will include:

           a. Written statements (i) by the Government setting forth the terms of any plea offer

               made to Defendant and the date such offer was made and lapsed; and (ii) by Defense

               Counsel indicating (1) the dates on which the terms of any plea offer were

               communicated to Defendant and rejected, see Missouri v. Frye, 566 U.S. 134, 145

               (2012) (“[D]efense counsel has the duty to communicate formal offers from the

               prosecution to accept a plea on terms and conditions that may be favorable to the

               accused.”), and (2) the potential sentencing exposure communicated by the Defense

               Counsel to Defendant and the date on which such communication occurred, see

               United States v. Rashad, 331 F.3d 908, 912 (D.C. Cir. 2003);

           b. A one-paragraph joint statement of the case for the Court to read to prospective

               jurors;

           c. Proposed voir dire questions that include:

                   i. the voir dire questions on which the Parties agree; and

                  ii. the voir dire questions on which the Parties disagree, with specific

                         objections noted below each disputed question and supporting legal

                         authority (if any);

           d. The text of proposed jury instructions, which are formatted so that each instruction

               begins on a new page, and indicating:

                   i. the instructions on which the Parties agree;

                  ii. the instructions on which the Parties disagree, with specific objections noted

                         below each disputed instruction and supporting legal authority (if any); and




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                          the proposed instruction’s source (e.g., the Red Book, Matthew Bender’s

                          Federal Jury Instructions) or, for modified or new instructions, its

                          supporting legal authority;

           e. A list of expert witnesses, accompanied by a brief description of each witness’s

               area of expertise and expected testimony, followed by specific objections (if any)

               to each witness;

           f. A list of prior convictions that the Government intends to use for impeachment or

                any other purpose, followed by specific objections (if any) to that use;

           g. Lists of exhibits that the Parties intend to use during their cases-in-chief, with a

               brief description of each exhibit, followed by specific objections (if any) to each

               exhibit;

           h. Any stipulations executed or anticipated to be executed;

           i. A proposed verdict form that includes a date and signature line for the jury

                foreperson, as well as proposed special interrogatories (if any); and

           j. A proposed schedule for the Parties’ exchange of witness lists and Jencks Act

                material, including when such lists will be provided to the Court.

       It is further ORDERED that the Parties will exchange exhibit lists, which they are required

to provide with their joint pretrial statement, by July 21, 2025. The lists will consist of all exhibits

that the Parties intend to use in their cases-in-chief. The Parties will exchange objections to the

admissibility of exhibits to the extent practicable by July 25, 2025, and will confer in an effort to

narrow the objections before filing the joint pretrial statement. The Parties shall confer to agree

upon dates for the exchange of other materials required by the joint pretrial statement (e.g., voir

dire questions and proposed jury instructions) sufficiently in advance of the filing deadline to allow




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   the Parties to note any objections and confer in an effort to narrow objections. All exhibits

   are to be marked in advance of trial and listed in order on the exhibit form obtained from the

   Courtroom Deputy Clerk. The Parties shall provide an electronic copy of the exhibits at any

   point prior to the trial date. The Court may request copies of specific exhibits prior to the

   pretrial conference if necessary to resolve the Parties’ objections. It is further

          ORDERED that the Government is under a continuing and ongoing obligation to

   provide Defense Counsel any favorable or exculpatory information (Brady), whether or not

   admissible in evidence. Brady information must be disclosed on a rolling basis—“the duty to

   disclose is ongoing.” Pennsylvania v. Ritchie, 480 U.S. 39, 60 (1987). To the extent it has not

   already done so, the Government must disclose information that may be useful for

   impeachment or may otherwise affect the credibility of any Government witness (Giglio)—

   including Lewis material— on or before July 28, 2025. See United States v. Celis, 608 F.3d

   818, 835–36 (D.C. Cir. 2010). Giglio obligations are also ongoing.

          SO ORDERED.




Dated: July ___, 2025                                                 JIA M. COBB
                                                                      United States District Judge
